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  RECEIVED
   MAY 2 0 2024               IN THE UNITED STATES DISTRICT COURT
 U S DISTRICT COURT          FOR THE EASTERN DISTRICT OF MISSOURI
EASTERN DISTRICT OF MO                  EASTERN DIVISION
       ST. LOUIS

       AUNHK RA AUNHKHOTEP,                          )

                            Plaintiff,               )

                      V.                             )

       JANE DOE                                      )
       United States Post Office
       Frederick N. Weathers Branch                  )
       3415 North Kingshighway
       St. Louis, Missouri 63115                     )
       In Her Individual Capacity
                                                     )
       POLICE OFFICER EBBERHART
       St. Louis Metropolitan Police Department      )
       1915 Olive Street
       St. Louis, Missouri 63103                     )
       In His Individual Capacity
                                                     )
       POLICE CAPTAIN KARNOWSKI
       St. Louis Metropolitan Police Department      )
       1915 Olive Street
       St. Louis, Missouri 63103                     )
       In His Individual Capacity
                                                     )   Case No.: - -- - - - - - - --
       POLICE SERGEANT BECKER                                      (To Be Supplied By Court Clerk)
       St. Louis Metropolitan Police Department      )
       1915 Olive Street
       St. Louis, Missouri                           )
       In Her Individual Capacity
                                                     )
       CAPTAIN BERTRICE THOMAS
       St. Louis City Justice Center                 )
       200 South Tucker Blvd
       St. Louis, Missouri 63102                     )
       In Her Individual Capacity
                                                     )
       LEUTENANT RAYMOND BROWN
       St. Louis City Justice Center                 )
       200 South Tucker Blvd
       St. Louis, Missouri 63102                     )
       In His Individual Capacity
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LEUTENANTBRUCEBOARDERS                            )
St. Louis City Justice Center
200 South Tucker Blvd                            )
St. Louis, Missouri 63102
In His Individual Capacity                        )

LEUTENANT CHAPMAN LOREZO                          )
St. Louis City Justice Center
200 South Tucker Blvd                             )
St. Louis, Missouri 63103
In His Individual Capacity,                       )

                   Defendants.                   )

                                    FEDERAL COMPLAINT

           NOW COMES, Plaintinff, Aunhk Ra Aunhkhotep, (hereinafter "Plaintiff'), hereby

files this Federal Complaint, (hereinafter "Complaint"), against the above referenced Defendants,

(hereinafter "Defendants"), for violating Plaintiffs constitutional rights under the First

Amendment, Fourth Amendment, retaliation in violation of Plaintiffs First Amendment Rights,

conspiracy to violate Plaintiff's First Amendment Rights, Violation of Plaintiff's Rights

to submit written, in-person request for public records under Missouri law, conspiracy to violate

right to obtain public records under Missouri law and assault for exercising rights under the First

Amendment.

                               NATURE OF FEDERAL ACTION

             1. This is an action arising under the United States Constitution, Title 42 USC

Section (" 1983") and for a federal claim under Bivens v Six Unknown Named Agents.

            2. Defendant JANE DOE conspicuously, intentionally and knowingly retaliated

against Plaintiff for exercising right to engage in public videography and photography in a public

building inside the lobby area of the United States Post Office.

            3. Defendant EBBERHART conspicuously, intentionally and knowingly deprived
                                                 I.
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Plaintiff of right to engage in public photography and videography in a public building inside the

lobby area of St. Louis City Assessor' s Office. Defendant further detained Plaintiff in violation

of Plaintiff's fourth amendment rights and deprived Plaintiff of state right to submit in-person

written request for agency records while visiting the Assessor's Office.

             4. Defendant KARNOWSKI conspicuously, intentionally and knowingly issued an

unlawful order directing Plaintiff to leave public property for engaging in public photography

and videography; Defendant threatened to trespass and arrest Plaintiff for exercising right to

engage in public photography and videography while recording and filming on public property at

St. Louis Metropolitan Police North Patrol Division.

             5. Defendant KARNOWSKI conspicuously, intentionally and knowingly deprived

Plaintiff of right to submit in-person request for agency records while visiting the North Patrol

Division.

             6. Defendant BECKER conspicuously, intentionally and knowingly issued an

unlawful order directing Plaintiff to leave public property for engaging in public photography

and videography; Defendant threatened to trespass and arrest Plaintiff for exercising right to

engage in public photography and videography while recording and filming on public property at

the North Patrol Division.

             7. Defendant BECKER conspicuously, intentionally and knowingly deprived

Plaintiff of state right to submit in-person, written request for agency records while visiting the

North Patrol Division.

             8. Defendant THOMAS conspicuously, knowingly and intentionally assaulted,

physically injured and physically removed Plaintiff from St. Louis City Justice Center for

engaging in permissible public videography and photography. Further, Defendant deprived
                                                 2.
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Plaintiff of state right to submit written, in-person request for agency records while visiting

St. Louis City Justice Center.


             9. Defendant BROWN conspicuously, knowingly and intentionally assaulted,

physically injured and physically removed Plaintiff from the lobby area of St. Louis City Justice

Center for engaging in public videography and photography. Further, Defendant deprived

Plaintiff of state right to submit written, in-person request for agency records while visiting

St. Louis City Justice Center.

             10. Defendant BOARDERS conspicuously, knowingly and intentionally assaulted,

physically injured and physically removed Plaintiff from the public lobby area of St. Louis City

Justice Center for engaging in public photography and videography. Further, Defendant deprived

Plaintiff of state right to submit written, in-person request for agency records while visiting St.

Louis City Justice Center.

             11. Defendant LOREZO conspicuously, knowingly, and intentionally assaulted,

physically injured and physically removed Plaintiff from St. Louis City Justice Center for

engaging in public photography and videography. Further, Defendant deprived Plaintiff of state

right to submit written, in-person request for agency records while visiting St. Louis City Justice

Center.

                                  JURISDICTION AND VENUE

             12. The District Court has jurisdiction to entertain this Complaint pursuant to 28

U.S.C. Section 1331, 1343(3) and Title 42 U.S.C. Section 1983. The Court also has supplemental

jurisdiction under 28 U.S.C 1367.
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                                                  .) .
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                                             PARTIES

             13. Plaintiff, Aunhk Ra Aunhkhotep, resides in the City of St. Louis, Eastern

District of Missouri.

             14. Defendant Jane Doe, whom Plaintiff sues in her individual capacity, is and was

at all times relevant to this proceeding. Defendant acted at all times relevant herein under color

of federal law and in her capacity as an agent and employee of the United States Postal Service.

             15. Defendant Ebberhart, whom Plaintiff sues in his individual capacity, is and was

at all times relevant to this proceeding. Defendant acted at all times relevant herein under the

color of law and in his capacity as an agent and employee of St. Louis Metropolitan Police

Department and the City of St. Louis.

             16. Defendant Kamownski, whom Plaintiff sues in his individual capacity, is and

was at all times relevant to this proceeding. Defendant acted at all times relevant herein under

the color of law and in his capacity as an agent and employee of St. Louis Metropolitan Police

Department and the City of St. Louis.

             17. Defendant Becker, whom Plaintiff sues in her individual capacity, is and was at

all timed relevant to this proceeding. Defendant acted at all times relevant herein under the color

of law and in her capacity as an agent and employee of St. Louis Metropolitan Police

Department and the City of St. Louis.

             18. Defendant Thomas, whom Plaintiff sues in her individual capacity, is and was

at all times relevant to this proceeding. Defendant acted at all times relevant herein under the

color of law and in her capacity as an agent and employee of St. Louis City Justice Center and

the City of St. Louis.

             19. Defendant Brown, whom Plaintiff sues in his individual capacity, is and was at
                                                 4.
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all times relevant to this proceeding. Defendant acted at all times relevant herein under the color

of law and in his capacity as an agent and employee of St. Louis City Justice Center and the City

of St. Louis.

                20. Defendant Boarders, whom Plaintiff sues in his individual capacity, is and was

at all times relevant to this proceeding. Defendant acted at all times relevant herein under the

color of law and in his capacity as an agent and employee of St. Louis City Justice Center and

the City of St. Louis.

                21. Defendant Lorezo, whom Plaintiff sues in his individual capacity, is and was at

all times relevant to this proceeding. Defendant acted at all times relevant herein under the color

of law and in his capacity as an agent and employee of St. Louis City Justice Center and the City

of St. Louis.

                                        INCIDENT(S) FACTS

                                            Incident No. 1

                                    A. DEFENDANT JANE DOE

                22. On April 4, 2024, at approximately 10:00am, while visiting the Frederick

Weathers Post Office, Plaintiff proceeded to record Jane Doe in her interactions with the public.

                23. Defendant Jane Doe demanded that Plaintiff not record. Defendant further

stated that she did not give Plaintiff permission to record her. Plaintiff explained to Defendant

that Plaintiff had a right to record. Plaintiff continuously recorded, completed the recording

and subsequently exited the building.

                24. On April 10, 2024, at approximately 8:45am through 9:15am, Plaintiff returned

to the same post office to conduct business. Plaintiff proceeded to window # 1 where Plaintiff re-

encountered Defendant.
                                                   5.
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            25. While standing at window #1, Defendant Jane Doe stated she was not going to

provide Plaintiff service due to Plaintiff recording Defendant on April 4, 2024. Defendant

demanded Plaintiff to move away from her window. Plaintiff complied at which time Defendant

began serving other customers.

                                           Incident No. 2

                                 B. DEFENDANTEBBERHART

            26. On April 5, 2024, at approximately 10:30am through 11 :30am, while visiting St.

Louis City Hall, Plaintiff attempted to access the lobby area of the Assessor' s Office to record

public officials in their affairs with the public and to seek agency records under Missouri

Sunshine Law.

            27. Defendant Ebberhart block Plaintiff's forward progress from entering the lobby

area of the Assessor' s Office to record and to submit written, in-person request for agency

records. Defendant Ebberhart threatened Plaintiff with trespass and arrest had Plaintiff proceeded

to enter the lobby area of the Assessor' s Office. Plaintiff departed the encounter with threat of

removal from building and threat of arrest.

                                           Incident No. 3

                       C. DEFENDANTS BECKER AND KARNOWSKI

            28. On April 15, 2024, at approximately 9:30am, Plaintiff visited the North Patrol

Division of St. Louis Metropolitan Police Department to record and take picture of the building

and property. Plaintiff further sought to submit written, in-person request for agency records

under Missouri Open Records Law.

            29. Plaintiff proceeded to enter the parking lot of the North Patrol Division to take

pictures of the police cars and other public property. However, Plaintiff was confronted by two
                                                 6.
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uniformed officers whom stated Plaintiff was not allowed to either photograph or record the cars

or other property parked on the parking lot.

            30. Plaintiff requested the two uniformed officers to summons their supervisors;

Defendant Sergeant Becker and Defendant Kamowski appeared. Both Defendants ordered

Plaintiff to leave the premises and threatened Plaintiff with trespass and arrest. Under threat of

being trespassed and arrested, Plaintiff departed the property.

                                           Incident No. 4

              D. DEFENDANTS THOMAS, BROWN, BOARDERS & LOREZO

             31. On April 29, 2024, at approximately 1:30pm through 2:15pm, Plaintiff visited

St. Louis City Justice Center to engage in public photography and videography while recording

in the lobby area of St. Louis City Justice Center.

            32. While recording inside the lobby area, Plaintiff engaged conversation with an

unidentified staff member whom was stationed at the front area of the lobby. Defendant Thomas

arrived, demanded Plaintiff to stop recording and threatened to throw Plaintiff out of the

building. Nevertheless, Plaintiff continued to record.

            33. Defendant Thomas summoned Defendants Brown, Boarders and Lorezo to the

lobby area and all Defendants confronted Plaintiff.

            34. All Defendants grabbed Plaintiff's arms, hands, fingers, neck, head, punched

Plaintiff in the back, twisted Plaintiff head and neck, twisted Plaintiffs arms and wrists, fingers

and hands; grabbed plaintiff neck and threw Plaintiff out the front door of the Center. As a result

of the assault, Plaintiff sustained swollen wrists, swollen right arm, severe headaches and a

swollen knot on Plaintiffs lower right arm.

                                                 7.
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                                 BIVE S-CLAIM FOR RELIEF

                                         COUNT I.
                                  A. DEFENDANT JANE DOE
                     (Retaliation Against Plaintiff for Exercising First Amendment
                  Rights- In Violation Bivens v. Six Unknown Named Federal Agents)

             3 5. The preceding paragraphs 1 through 34 are incorporated herein by referenced.

             36. On April 10, 2024, Defendant Jane Doe did not possess any legal or lawful

reason or basis for which to deny Plaintiff public service while visiting the United States Post

Office.

             37. Further, Defendant Jane Doe did not have an expectation of privacy while

working as a public servant at the time Plaintiff filmed and recorded Defendant while Defendant

engaged the public.

             38. At no time during the event at issue justified Defendant denying Plaintiff public

service while visiting the post office. Consequently, Defendant effectively deprived Plaintiff

of public service and retaliated against Plaintiff for exercising right to film and record Defendant

from the lobby area of the post office.

             39. Defendant Jane Doe acted with sufficient malice for punitive damages to issue

under law.

             40. Defendant Jane Doe acted with actual malice in her decision to deny public

service knowing that Defendant' s actions were retaliatory and motivated by an improper motive

ie. unconstitutional retaliation for filming Defendant on April 4th , 2024.

             41. In addition and/or alternatively, Defendant Jane Doe acted with sufficient state

of mind for punitive damages to issue under 42 U.S.C. Section 1983.

             42. Defendant Jane Doe acted with evil motive or intent or the reckless or callous

indifference to Plaintiff federally protected First Amendment Rights to engage in public
                                                  8.
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photography and videography and to film Defendant in the course of Defendant' s affairs with the

public.

                                               COUNT II

                                   B.DEFENDANTEBBERHART
               (Violation of Fourth Amendment Rights Under Title 42 U.S.C Section 1983)

          43. The preceding paragraphs 1 through 42 are incorporated herein by reference.

              44. On April 5, 2024, Defendant Ebberhart, without legal authority or legal

justification, physically prevented Plaintiff from entering the lobby area of St. Louis

City Assessor' s Office.

              45. Defendant Ebberhart placed himself immediately in the path of Plaintiffs

movement as to effectively stop Plaintiffs movement in public; thus, effectively detaining

Plaintiff without just or legal cause.

              46. At no time during the event did Defendant Ebberhart possess legal justification

to physically stop Plaintiff from entering the lobby area of the Assessor' s Office or to restrict

Plaintiffs movement while moving about in a public.

              47. Defendant Ebberhart acted with sufficient state of mind for punitive damages to

issue under 42 U.S.C. Section 1983.

              48. Defendant Ebberhart acted with clear motive of conscious intent or reckless or

callous indifference to Plaintiffs 4 th Amendment Rights.

                                              COUNT III.

                                  C. DEFENDANTEBBERHART
              (Violation of Plaintiff's First Amendment Rights-Title 42 U.S.C. Section 1983)

              49. The preceding paragraphs 1 through 48, are incorporated herein by reference.

              50. On April 5, 2024, Defendant Ebberhart, without legal justification or legal

                                                    9.
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authority, violated Plaintiff's first amendment rights to engage in public photography and

videography.

             51 . At no time during this event did Defendant Ebberhart have legal or lawful

justification to stop Plaintiff from entering the lobby area of the Assessor' s Office to film, record

or take photos of public servants engaged with the public.

             52. Defendant Ebberhart acted with sufficient state of mind for punitive damages to

issue under 42 U.S.C. Section 1983.

             53. Defendant Ebberhart acted with clear motive of conscious intent or reckless or

callous indifference to Plaintiff's First Amendment Rights.

                                                COUNT IV

                       D. DEFENDANTS BECKER AND KARNOWSKI
                   (Violation of Plaintiff's First Amendment Right- 42 U.S.C. 1983)

             54. The preceding paragraphs 1 through 53 are incorporated herein by reference.

             55. On April 15, 2024, at approximately 9:30am, Defendants Becker and

Kamowski lacked legal justification to stop Plaintiff from engaging in videography and

photography while on public property at the North Patrol Division.

             56. At no time during the encounter Defendants possessed legal authority to order

Plaintiff off public property or threaten Plaintiff with trespass and arrest.

             57. Defendants acted with sufficient malice for punitive damages to issue under
law.

             58. Defendants acted with actual malice in their decision to issue unlawful order

directing Plaintiff to leave public property.

             59. In addition/or in the alternative, Defendants Becker and Kamowski acted with

sufficient state of mind for punitive damages to issue under 42 U.S.C. Section 1983.
                                                   10.
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             60. Defendants Becker and Karnowski acted with ill-motive of conscious intent or

reckless or callous indifference to Plaintiffs federally protected rights.

                                              COUNTY

                        E. DEFENDANTS BECKER AND KARNOWSKI
                       (Conspiracy to Violate Plaintiff s First Amendment Right)

              61. The preceding paragraphs 1 through 60 are incorporated herein by reference.

              62. On April 15, 2024, at approximately 9:30am, Defendants Becker and

Karnowski conspired with one another to violate Plaintiffs first amendment rights to engage

in public photography and videography.

              63. At no time during the event Defendants Becker and Karnowski have legal or

lawful justification to issue joint-order to leave public property, jointly agree to arrest Plaintiff

for trespass and jointly agree to arrest Plaintiff if Plaintiff returned to the North Patrol Division.

             64. Defendants Becker and Karnowski acted with sufficient malice for punitive

damages to issue under law.

             65. Defendants Becker and Karnowski acted with actual malice in their joint-

decision to issue joint, unlawful order to threaten Plaintiff with trespass and arrest for engaging

in a constitutionally protected activity.

             66. Defendants Becker and Karnowski acted with evil motive or intent or reckless

or callous indifference to Plaintiffs federally protected rights.

                                              COUNT VI

                        F. DEFENDANTS BECKER AND KARNOWSKI
                  (Violation of Plaintiff Right to Submit In-Person Request for Agency
                         Records Under Missouri Sunshine Law; Supplemental
                         Jurisdiction ls Authorized Under Title 28 U.S.C 1367)

             67. The preceding paragraphs 1 through 66 are incorporated herein by reference.

                                                  11.
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             68. On April 15, 2023, at approximately 9:30am, Defendants Becker and

Karnowski prohibited Plaintiff from entering the building to submit an in-person request for

agency records.

             69. At no time during the event did Defendants Becker and Karnowski have legal or

lawful authority to prohibit Plaintiff from entering the building to submit in-person request for

public records.

             70. Defendants Becker and Karnowski acted with ill-motive, intent, reckless or

callous indifference to Plaintiff's state rights.

                                              COUNT VII

                  G. DEFENDANT THOMAS, BROWN, BOARDERS & LOREZO
                             (Violation of Plaintiff First Amendment Right-
                                  Under Title 42 U.S.C Section 1983

             71. The preceding paragraphs 1 through 70 are incorporated herein by reference.

             72. On April 29, 2024, at approximately 1:30pm through 2: 15pm, Defendants

Thomas, Brown Boarders and Lorezo, at all times relevant to this Complaint, illegally and

without just cause prohibited Plaintiff from engaging in public photography and videography

effectively depriving Plaintiff of right to record and film within a public building inside the

public lobby area of St. Louis City Justice Center.

             73. At no time did either Defendant possess legal authority to prohibit Plaintiff from

recording inside the public lobby area of St. Louis City Justice.

             74. All four Defendants acted with sufficient malice for punitive damages to issue

under law.

             75 . All four Defendants acted with sufficient state of mind for punitive damages to

issue under 42 U.S.C Section 1983.
                                                     12.
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             76. All four Defendants acted with evil motive of conscious intent or reckless or

callous indifference to Plaintiff protected rights.

                                            COUNT VIII

              H. DEFENDANTS THOMAS, BROWN, BOARDERS & LOREZO
                    (Conspiracy to Violate Plaintiffs First Amendment Right-
                              Under Title 42 U.S.C. Section 1983)

              77. The preceding paragraphs 1 through 76 are incorporated herein by reference.

              78. On April 29, 2024, at approximately 1:30pm through 2:15pm, all four

Defendants conspired with one another to violate Plaintiffs First Amendment Rights to engage

in public photography and videography.

             79. At no time during the events did the four Defendants have legal or lawful

justification to "agree in unison" to stop Plaintiff from recording in the lobby area of St. Louis

City Justice Center.

             80. All four Defendants acted with sufficient malice for punitive damages for issue

under law.

             81. All four Defendants acted with evil motive of conscious intent or reckless or

callous indifference to Plaintiffs federally protected rights.

                                             COUNT IX

               I. DEFENDANTS THOMAS, BROWN BOARDERS & LOREZO
                        (Assault- Supplemental Jurisdiction under Title
                                       28 U.S.C. 1367)

             82. The preceding paragraphs 1 through 81 are incorporated herein by reference.

             83. On April 29, 2024, at approximately 1:30pm through 2:15, all four Defendants

grabbed Plaintiffs arms, hands, fingers, neck, head; punched Plaintiff in the back, twisted

Plaintiffs arms and wrists, fingers and hands; grabbed Plaintiffs neck and threw Plaintiff out the

                                                  13.
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front of the building. As a result of the brutal assault, Plaintiff sustained swollen wrists, swollen

right arm, severe headaches and a swollen knot on Plaintiff's lower right arm.

             84. All four Defendants acted with sufficient malice for punitive damages to issue

under law.

             85. All four Defendants acted with actual malice in their decision to attack and

assault Plaintiff and acted with sufficient state of mind for punitive damages to issue under 42

U.S.C. Section 1983.

             86. All four Defendants acted with evil motive of conscious intent or reckless or

callous indifference to Plaintiff's federal and state protected rights.

                                              COUNTX

                        J. THOMAS, BROWN, BOARDERS & LOREZO
                          (Deprivation of Right to Submit Records Request-
                     Supplemental Jurisdiction under Title 28 U.S.C. Section 1367)

             87. The preceding paragraphs 1 through 86, are incorporated herein by reference.

             88. On April 29, 2024, at approximately 1:30 through 2:15pm, all four Defendants

effectively prevented Plaintiff from submitting written, in-person request for agency records.

             89. At no time during the event did Defendants have a legal or lawful authority to

prevent Plaintiff of right to submit written, in-person request for agency records.

             90. All Defendants acted with clear motive of conscious intent or reckless or callous

Indifference to Plaintiff's state protected rights.

                                              COUNT XI

                                  COMPENSATORY DAMAGES

             91 . The preceding paragraphs 1 through 90 are incorporated herein by reference.

             92. Plaintiff seeks compensatory damages in the amount of $5,000.000.00 against

                                                      14.
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        all Defendants.

                                              PUNITIVE DAMAGES

                      93. Plaintiff seeks punitive damages in the amount of $4,000.000.00 against

        all Defendants.

                      94. Plaintiff seeks emotional damages in the amount of$1 ,000.000.00 against all

        Defendants.

                                                     PRAYER

                      WHEREFORE, Plaintiff respectfully prays for the relief stated above and for any

        other relief the court deems just and proper to assure justice prevails.

        Dated this 20th day of May, 2024.

                                                                 Respectfully Submitted,

                                                                ~     i&~
                                                                5411 Robin A venue
                                                                 St. Louis, MO 63120
                                                                 Tel. (314) 285-6193
                                                                 Email: aunhkhotepaunhk@gmail.com




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